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UNITED STATES DISTRICT COURT E D
MIDDLE DISTRICT OF TENNESSEE MAY 05 2023

NASHVILLE DIVISION oa
USS. District Court

Middle District of TN

WAYNE BURKHART,

Plaintiff,

No RCV OOHIY

VS.

DAVID RAUSCH, et al.,

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Defendants.

DECLARATION IN SUPPORT OF SERVICE OF PROCESS

Plaintiff, Wayne Burkhard states in this affidavit that:

1. I am the pro se Plaintiff in the above-entitled matter.

2. The Defendant David Rausch was served with a copy of the complaint as
appears for the proof of service exhibit.

3. The Defendant Richard Montgomery was served with a copy of the complaint
as appears for the proof of service exhibit.
Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the forgoing is true and
correct to the best of my knowledge, information, and belief.

Dated: April __, 2023.

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Wayng Burkhart
22 E. Dufort Road

Slagle, ID 83860

CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of the forgoing has been sent by U.S. mail,
sufficient first-class postage prepaid to:

Mr. David Rauch

Director

Tennessee Bureau of Investigation
901 RS Gass Building

Nashville, TN 37216-2639

Mr. Richard Montgomery
Chairman

Tennessee Board of Parole
Parkway Towers, Suite 1300
404 James Robertson Parkway
Nashville, TN 37243-0850

on this the day of April, 2023.

Wom Xewth ba?

Wayne Birkha

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